 Case 2:92-cr-81127-DML ECF No. 2065, PageID.726 Filed 07/22/08 Page 1 of 3


                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION




UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                                 Case No. 92-CR-81127

GREGORY BROWN,                                                        HON. AVERN COHN

     Defendant.
______________________________/

       ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION

                                              I.

       This is a criminal case. In 1997, defendant was convicted by a jury of (1)

conspiracy to posses with intent to distribute cocaine, in violation of 21 U.S.C. § 846

and § 841(a)(1), (2) intentional killing, aiding and abetting, in furtherance of a continuing

criminal enterprise (CCE), in violation of 21 U.S.C. § 848(e)(1)(A), and 18 U.S.C. § 2,

and (3) using or carrying a firearm in relation to a drug offense, in violation of 18 U.S.C.

§ 924(c). Defendant was sentenced to life imprisonment. As will be explained, before

the Court is defendant’s motion for reconsideration. For the reasons that follow, the

motion is DENIED.

                                             II.

       On March 3, 2008, defendant filed a motion to reduce or modify sentence under

18 U.S.C. § 3582(c).1 Defendant argued that Amendment 706 of the Sentencing


       1
      This was defendant’s second motion under § 3582(c)(2). In his first motion, filed
October 27, 2007, defendant argued that he should be sentenced based on a 2006

                                              1
  Case 2:92-cr-81127-DML ECF No. 2065, PageID.727 Filed 07/22/08 Page 2 of 3


Guidelines which lowered many of the offense levels applicable to possession or

distribution of crack cocaine, applied to him. The Court denied the motion on the

grounds that defendant was sentenced based on his involvement with a drug-related

murder, not because of his offense related to crack cocaine; therefore Amendment 706

did not affect the guidelines applicable to his sentence. See Order Denying Motion for

Reduction of Sentence under 18 U.S.C. § 3582(c)(2), filed June 11, 2008.

        Defendant then filed a Motion to Rescind the Court’s Order Denying Defendant’s

Motion under 18 U.S.C. § 3582(c), asserting that he never received a copy of the

government’s response and therefore did not have an opportunity to file a reply brief.

The Court treated defendant’s motion as a motion for reconsideration and allowed

defendant to file a supplemental brief, replying to the government’s response. See

Order filed July 9, 2008. Defendant has now filed a supplemental brief.

                                              III.

        E.D. Mich LR 7.1(g) governs motions for reconsideration, providing in relevant

part:

        Generally, and without restricting the court’s discretion, the court will not
        grant motions for rehearing or reconsideration that merely present the
        same issues ruled upon by the court, either expressly or by implication.
        The movant must not only demonstrate a palpable defect by which the
        court and the parties have been misled but also show that correcting the
        defect will result in a different disposition of the case.

        Defendant has failed to satisfy this standard. As explained in the Court’s June

11, 2008 order, Amendment 706 simply has no impact on defendant’s sentence.


amendment to the application notes of U.S.S.G. § 2A1.1 which calls for a sentence of
life imprisonment in a case of premeditated killing or where death results from the
commission of certain felonies. The Court denied the motion. See Order filed
November 29, 2007. The Court also denied defendant’s motion for reconsideration.
See Order filed January 9, 2008. Defendant has appealed this order.

                                               2
 Case 2:92-cr-81127-DML ECF No. 2065, PageID.728 Filed 07/22/08 Page 3 of 3


Moreover, defendant’s arguments regarding an ex post facto problem lack merit.

      SO ORDERED.




                                          s/Avern Cohn
                                         AVERN COHN
                                         UNITED STATES DISTRICT JUDGE


Dated: July 22, 2008


I hereby certify that a copy of the foregoing document was mailed Gregory Brown,
Reg No 07163-041, FCI Memphis, Box 34550, Memphis, TN 38184 and to the
attorneys of record on this date, July 22, 2008, by electronic and/or ordinary mail.


                                          s/Julie Owens
                                         Case Manager, (313) 234-5160




                                            3
